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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                                                                              5.2.2018
 Corey Reed an individual,

                        Plaintiff,
                                                                               18 Civ. 01378 (AJN)
                 –v–
                                                                             NOTICE OF INITIAL
 Harry Winston, Inc.,                                                      PRETRIAL CONFERENCE

                        Defendant.



ALISON J. NATHAN, District Judge:

         This case has been assigned to me for all purposes. It is hereby ORDERED that counsel
for all parties appear for an initial pretrial conference with the Court on Friday, June 29th, 2018
at 2:00pm in Courtroom 906 of the United States District Court for the Southern District of
New York, Thurgood Marshall U.S. Courthouse at 40 Foley Square, New York, New York.

         Counsel are directed to confer with each other prior to the conference regarding
settlement and each of the other subjects to be considered at a Fed. R. Civ. P. 16 conference.
Additionally, in accordance with the Court’s Individual Rules, the parties are hereby ORDERED
to ECF file a Proposed Civil Case Management Plan and Scheduling Order no later than seven
days prior to the Initial Pretrial Conference. The parties shall use this Court’s form Proposed
Case Management Plan and Scheduling Order available at the Court’s website
(http://nysd.uscourts.gov/judge/Nathan).

        IT IS FURTHER ORDERED that included with the Proposed Civil Case Management
Plan, the parties jointly submit a letter, not to exceed five (5) pages, providing the following
information in separate paragraphs:

       (1)      A brief statement of the nature of the action and the principal defenses thereto;

       (2)      A brief explanation of why jurisdiction and venue lie in this Court;

       (3)      A brief description of all outstanding motions and/or all outstanding requests to
                file motions;

       (4)      A brief description of any discovery that has already taken place, and that which
                will be necessary for the parties to engage in meaningful settlement negotiations;


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       (5)      A list of all prior settlement discussions, including the date, the parties involved,
                and the approximate duration of such discussions, if any;

       (6)      The estimated length of trial; and

       (7)      Any other information that the parties believe may assist this Court in resolving
                the action.

        If this case has been settled or otherwise terminated, counsel are not required to appear,
provided that a stipulation of discontinuance, voluntary dismissal, or other proof of termination
is sent prior to the date of the conference via e-mail to the Orders and Judgment Clerk at the
following e-mail address: orders_and_judgments@nysd.uscourts.gov.

        All pretrial conferences must be attended by the attorney who will serve as principal
trial counsel. Any request for adjournment must be ECF filed and submitted pursuant to the
Court’s Individual Practices; the Court will not entertain requests made less than two business
days before the conference. The written submission must (a) specify the reasons for the
adjournment, (b) state whether the other parties have consented, and (c) indicate times and dates
on succeeding Fridays when all counsel are available. Unless counsel are notified that the
conference has been adjourned, it will be held as scheduled.

        Counsel who have noticed an appearance as of the issuance of this order are
directed to notify all other parties’ attorneys in this action by serving upon each of them a
copy of this order and the Court’s Individual Rules (available at the Court’s website,
http://nysd.uscourts.gov/judge/Nathan) forthwith. If unaware of the identity of counsel for
any of the parties, counsel receiving this order must forthwith send a copy of this order and
Individual Rules to that party personally.



Dated: May _2_, 2018
       New York, New York


                                               __________________________________
                                                       ALISON J. NATHAN
                                                    United States District Judge




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